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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SHIVA STEIN,

Plaintiff, : Civ. No. 1:19-cv-11926-DLC
Vv.

TIFFANY & CO., ROGER N. FARAH,
ALESSANDRO BOGLIOLO, ROSE MARIE
BRAVO CBE, HAFIZE GAYE ERKAN,
JANE HERTZMARK HUDIS, ABBY F.
KOHNSTAMM, JAMES E. LILLIE,
WILLIAM A. SHUTZER, ROBERT S.
SINGER, AND ANNIE YOUNG-SCRIYNER,

 

 

 

Defendants.

NOTICE OF VOLUNTARY DISMISSAL
Notice is hereby given that pursuant to Rule 41(a)(1)(A) of the Federal Rules of Civil
Procedure, Plaintiff hereby voluntarily dismisses her individual claims in the above-captioned
action (the “Action”) with prejudice. Because this notice of dismissal is being filed with the
Court before service by Defendants of either an answer or a motion for summary judgment,

Plaintiff's dismissal of the Action is effective upon filing of this notice.

 

DATED: February 12, 2020 Respectfully submitted,
WOLF HALDENSTEIN ADLER
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